Action begun April 23, 1940, by the Stott Briquet Company, a Delaware corporation, against the city of Superior, a municipal corporation, to recover a personal property tax levied for the year 1939.  Defendant demurred to the complaint. From an order overruling the demurrer, defendant appeals.
Plaintiff purchases anthracite coal screenings from the eastern market and has it shipped to the Great Lakes Coal 
Dock Company where it is stored until needed by plaintiff in making briquets.  The tax levy in question was on about thirty-four thousand tons of coal so stored on May 1, 1939.
The complaint alleges the assessed valuation of $122,144.40 on the coal and the personal property tax levied at the rate of forty and seven-tens mills on the dollar which amounted to $4,971.28.  Further allegations are to the effect that an objection to the tax was made before the board of review; that the tax was paid under protest; that the Great Lakes Coal Dock Company paid an occupational tax of two cents a ton *Page 452 
on all coal passing over its dock in the year immediately preceding May 1, 1939, and that the thirty-four thousand tons in question were included in such occupational tax; that the Great Lakes Coal  Dock Company "agreed to and did unload and store upon its said dock, in separate piles from other coal, anthracite screenings purchased . . . by plaintiff . . . and agreed to and did deliver the same to the briquet plant of the plaintiff in the city of Superior, Wisconsin;" that a refund claim was filed with the city clerk and presented to the common council; and that since said council did not act on such claim within sixty days, this action was commenced.
The appellant asserts that the complaint is fatally weak in that it does not contain an allegation that "the Great Lakes Coal  Dock Company was engaged in the business of handling coal for the use of the general public or of anybody other than this plaintiff," and contends that therefore the pleading fails to state facts showing that the coal in question was subject to an occupational tax under the provisions of sec. 70.42 (1), Stats., and therefore exempt from other taxation as provided in that section.
The coal is subject to the personal property tax unless it was subject to the occupational tax.  The complaint does show facts enough to sustain respondent's claim.  The coal was stored on docks of the Great Lakes Coal  Dock Company under an agreement with respondent to unload and store "in separate piles from other coal" and to be delivered on order. The pleader indicates the existence of separate entities as *Page 453 
between the dock company, the respondent, and other customers of the dock company.  The only inference to be drawn from the allegation of the assessment of the occupational tax as set out in the complaint is that the occupational tax was properly assessed by officers doing their duty as required by statute, and that the coal is therefore exempt from the personal property tax.  Wisconsin E. S. Co. v. Fidelity  D. Co. 191 Wis. 645,650, 211 N.W. 670; State ex rel. Anderton v. Kempf,69 Wis. 470, 473, 34 N.W. 226; 20 Am. Jur. p. 174, § 170.
It is considered that this case is ruled by the decision inState ex rel. Consolidated Coal Co. v. Arnold, 186 Wis. 609,203 N.W. 373.  There, as here, the dock company owned and operated a coal dock.  It was under contract with a customer who shipped coal from eastern ports to the dock where it was unloaded and piled on the dock for storage in piles separate from other coal.  Under the contract the dock company was required to deliver the coal to the customer on trucks owned by the dock company.  The dock company complied with the provisions of the occupational tax.  It was there held that the occupational tax was valid, and that because it had been paid, the coal there involved was exempt from all other taxes.
The validity of the assessment and the collection of the occupational tax on the coal is sufficiently shown and the demurrer was properly overruled.
By the Court. — Order affirmed. *Page 454 